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                                 “Anachnu Ve’tze’etzeinu”
                Founded by the Rush Yeshivah, Harav Aharon Yehuda Leib Shteinman OBM



08/04/20 18


To Seldet;
We hereby confirm the receipt of your donation to “Anachnu V&tze’etzeinu”, which makes
the continuation of our work possible. It will contribute to strengthening Torah, and
strengthening the connection between fathers and sons.
May it be G-d will that in the merit of upholding Torah study, you will be blessed with both
Torah wisdom and prosperity, with success in all you endeavors, and with joy from all of
your offspring.


Respectfully,
“Anachnu Ve’tze’etzeinu”



Receipt
For 10,000 NIS
Received on 08/04/2018
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   To                                                                         June 20, 2019

   Seldat Inc. “Lev Echad”

   Modin hut

   71919



   Much peace to lovers of Your Torah.

   In gratitude, your donation and support has been revived by our holy yeshiva, and a receipt
   included.

   Our blessings are thus sent to those who love and honor the Torah, who assist the Talmud
   Scholars who are amply rewarded spiritually and materially as the verse says, “She isa tree of
   life for those who grasp onto her and those who support her are enriched.”

   May it be His will that the merit of charity cast it’s light upon you from the holiness of the Torah
   and may you and all those who depend on you find blessing and success, healing and livelihood,
   happiness and goodness, Amen.

                                         In gratitude and blessing

            In the name of our Rabbi, the Dean of the Yeshiva, may he live many long years

                                                Chaim Ziat

                                                Secretary




   Yeshiva Reshit Hochma

   From. Seldat Inc. “Lev Echad”

   For. Support of students. May you merit to fulfill G-d’s commandments and abundant blessing
   Amen.

   For. One Thousand Five Hundred NIS [1,500 NIS]

   By way of: Bank Transfer    Shekel amount based upon the currency exchange rate

   June 20, 2019
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   To                                                                         June 19, 2019

   Seldat Inc. “Lev Echad”

   Modin hut

   71919



   Much peace to lovers of Your Torah.

   In gratitude, your donation and support has been revived by our holy yeshiva, and a receipt
   included.

   Our blessings are thus sent to those who love and honor the Torah, who assist the Talmud
   Scholars who are amply rewarded spiritually and materially as the verse says, “She is a tree of
   life for those who grasp onto her and those who support her are enriched.”

   May it be His will that the merit of charity cast it’s light upon you from the holiness of the Torah
   and may you and all those who depend on you find blessing and success, healing and livelihood,
   happiness and goodness, Amen.

                                         In gratitude and blessing

            In the name of our Rabbi, the Dean of the Yeshiva, may he live many long years

                                                Chaim Ziat

                                                Secretary




   Yeshiva Reshit Hochma

   From. Seldat Inc. “Lev Echad”

   For. Support of students. May you merit to fulfill G-d’s commandments and abundant blessing
   Amen.

   For. Two Thousand NIS [2,000 NIS]

   By way of: Bank Transfer    Shekel amount based upon the currency exchange rate

   June 18, 2019
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   To                                                                          March 20, 2019

   Seldat Inc. “Lev Echad”

   Modin hut

   71919



   Much peace to lovers of Your Torah.

   In gratitude, your donation and support has been revived by our holy yeshiva, and a receipt
   included.

   Our blessings are thus sent to those who love and honor the Torah, who assist the Talmud
   Scholars who are amply rewarded spiritually and materially as the verse says, “She is a tree of
   life for those who grasp onto her and those who support her are enriched.”

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   and may you and all those who depend on you find blessing and success, healing and livelihood,
   happiness and goodness, Amen.

                                         Ingratitude and blessing

            In the name of our Rabbi, the Dean of the Yeshiva, may he live many long years

                                               Chaim Ziat

                                                Secretary




   Yeshiva Reshit Hochma

   From. Seldat Inc. “Lev Echad”

   For. Support of students. May you merit to fulfill G-d’s commandments and abundant blessing
   Amen.

   For. Two Thousand NIS [2,000 NIS]

   By way of: Bank Transfer   Shekel amount based upon the currency exchange rate

   March 19, 2019
